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        In the United States Court of Federal Claims
   * * * * * * * * * * * * * * * * **        *
                                             *
  CECIL BELL,                                *
                    Plaintiff,               *
                                             *
             v.                              *   No. 22-1875T
                                             *   Filed: April 27, 2023
  UNITED STATES,                             *
                    Defendant.               *
                                             *
     * * * * * * * * * * * * * * * * **      *

                                       ORDER

       On April 27, 2023, the court held a status conference in the above captioned case.
As discussed at the status conference, on or before Thursday, May 18, 2023, plaintiff
shall provide proof of non-residency to defendant. On or before Thursday, June 1, 2023,
the parties shall file the joint preliminary status report.

        On or before Friday, June 16, 2023, plaintiff shall file a motion for summary
judgment. On or before Friday, June 30, 2023, defendant shall file a cross-motion for
summary judgment, and a response to the plaintiff’s motion for summary judgment. On
or before Friday, July 7, 2023, plaintiff shall file a response to the defendant’s cross-
motion for summary judgment and a reply to the plaintiff’s motion for summary judgment.
On or before Friday, July 14, 2023, defendant shall file a reply brief. If necessary, the
court SCHEDULES oral argument on the cross-motions for summary judgment for
Wednesday, July 19, 2023, 2:30 p.m., EDT. The court will inform the parties of the
logistics of the status conference at a later date.

      IT IS SO ORDERED.

                                                    s/Marian Blank Horn
                                                    MARIAN BLANK HORN
                                                             Judge
